Case 2:04-cr-20304-.]P|\/| Document 89 Filed 07/11/05 Page 1 of 2 Page|D 133

UNITED sTATEs DIsTRIcT CoURT F"'E° B"' -~-- D-°-
WEsTERN 311;::]€]; vci)§o:ni\n\m:ssEE 05 JUL l l PH 3: l l
THOMAS M.
UNITED sTATES oF AMERICA aEii/i)%SF ling
-vs- Case No. 2:04cr20304-001Ml
MARSHALL HENDERSON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING' PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 12, 2005 at 3 : 15 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant Shall be held in custody by the United States
Marshal and produced for the hearing.
Date: July 8, 2005

r"'"‘"_-
/A A
S. THOMAS ANDERSON

UNITED STATES MAGISTRATE JUDGE

 

lIt` not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8185) Order of Temeorary Detention

Thls document entered on the docket sheet m .

'/
with noia 55 and/or 32{\:>) Fech on 7 12er fy

     

UNITED sTEATsDTlsRICT COURT - WERSTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 89 in
case 2:04-CR-20304 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

1\/1emphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable J on MoCalla
US DISTRICT COURT

